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JONES COUNTY SHERIFFS DEPT.

PRINT DATE: 02/01/2018 NUMBER: 20159332854 Page 1
Received: 12/12/2016 15:00 Incident No: 2016033854 Signal: S19V
Dispatched: 12/12/2016 15:00 Location: 330 N 16TH AVE LAUREL
Enroute: Occurrence: 12/12/2016 15:00

Arrived: 12/12/2016 15:00
Completed: 12/12/2016 16:00

Status Date/Time: 01/27/2017 14:48 Status: CLEARED BY ARREST Clearance:
Status Date/Time: 12/12/2016 16:11 Status: PENDING Clearance:
teen: QC ENDER teketatowk
ID # 2011080168 WADE, CODY ANDREW Home/Business
CE uisviite ms 394800000 (601) ia |
TYPE OF INDIVIDUAL | (601)
(601)
DOB: MIM «AGE: 19 +400 RACE:W SEX:M Height: 5-9 Weight:150 SSN:
OLN: State: MS Class: R Commercial: Birth City/State:
Appearance: Build: Complexion: Ethnicity:N Eyes: BRO
Hair: BRO Hair Length: Hair Style: Resident: R M.O.:
EMPLOYER:
HATE/BIAS MOTIVATED: UNKNOWN CLOTHING:
OFFENDER USED: NOT APPLICABLE
OFFENSE 1 OFFENSE (RS #) 97-17-70 ATTICOMP C
RECIEVING STOLEN PROPERTY-FEL!
HRELEKREEEKE OFFENDER EREKERELERK
ID # 2016120102 WILLIAMS, TAYLOR DREW Home/Business
Lave ms 0000 (601)
TYPE OF INDIVIDUAL | (601)
(601)
DOBIMMEMY AGE: 15 +/-00 =RACE:W SEX:M Height: 0-0 Weight: 0 SSN: XXX-XX-XXXX
OLN: State: MS Class: Commercial: _ Birth City/State:
Appearance: Build: Complexion: Ethnicity:N Eyes:
Hair: Hair Length: Hair Style: Resident: R M.O.:
EMPLOYER:
HATE/BIAS MOTIVATED: UNKNOWN CLOTHING:
OFFENDER USED: NOT APPLICABLE
OFFENSE 1 OFFENSE (RS #) 97-17-70 ATTICOMP C
RECIEVING STOLEN PROPERTY-FEL'
eGR eek obs oO FFEN DER eke ee ee
ID # 2006100473 WILLIAMS, DAVID DREW Home2/Business
651 ORANGE DR , LAUREL MS 384430000 (601)
TYPE OF INDIVIDUAL | (601)
(601)

CLT-(WILLIAMS)-000089

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JONES COUNTY SHERIFFS DEPT.

PRINT DATE: 02/01/2018 NUMBER: 2016053854 Page 2
DOB AGE:41 +400 RACE:W SEX:M Height: 6-0 Weight:210 SSN
OLN: State: MS Class: R Commercial: — Birih City/State:

Appearance: Build: 7 Complexion: Ethnicity:N Eyes:BRO
Hair: BRO Hair Length: Hair Style: Resident: R M.O.:
EMPLOYER:

HATE/BIAS MOTIVATED: UNKNOWN CLOTHING:

OFFENDER USED: NOT APPLICABLE

QCFFEWSE 1 OFFENSE (RS #) 97-17-70 ATTICOMP C

RECIEVING STOLEN PROPERTY-FELI

REVERE C FFEN DER HAMS PERE

ID # 2008040161 BUKER, PAUL Home/Business
I «auret vs ococc0000 (601) es
TYPE OF INDIVIDUAL } (601)
(801)
Dos: MY AGE: 43 +00 =RACE:W SEX:M ‘Height: 6-0 Weight:185 SSN:
OLN: | State:FL Class: Commercial: 1 Birth City/State:
Appearance: 30 Build: 2 Complexion: 11 Ethnicity:N Eyes:BRO
Hair: BLK Hair Length: 10 Hair Style: Resident: R M.C.:
EMPLOYER:
HATE/BIAS MOTIVATED: UNKNOWN CLOTHING: SLOPPY

OFFENDER USED: NOT APPLIGABLE
teakekkek CUE PE NP fe seketewere

ID # 2008120062 HANCOCK, BAILEE Home/Business
, LAUREL MS cooco000 (601)
TYPE OF INDIVIDUAL | (601)
(601)
pos: MEY ace: 20 +00 RaAcE:w SEX:M Height: 5-10 Weight:170 SSN ST
ONE State: MS Class: Commercial: Birth City/State:
Appearance: Build: Complexion: Ethnicity:U Eyes:GRN
Hair: BRO Hair Length: Hair Style: Resident: U M.O.:
EMPLOYER:
HATE/BIAS MOTIVATED: UNKNOWN CLOTHING:

OFFENDER USED: NOT APPLICABLE

SREAERERE Oo FEE N DER BVH RAKERS

ID # 2007030683 WILLIAMS, STEPHAINE LYNN Home/Business
GE «LAUREL Ms o0000000 (601)
TYPE OF INDIVIDUAL | (601)
(601)

CLT-(WILLIAMS)-000090
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JONES COUNTY SHERIFFS DEPT.

PRINT DATE: 02/01/2018 NUMBER: 2076033854 Page 3

pos MMMM ace: 42 +00 RACE:w SEX:F Height: 50-4 Weight:160 SSN: |
OLN: State: MS Class: Commercial _ Birth City/State:
Appearance: 40 Build: 2 Complexion: 06 Ethnicity:N Eyes:GRN
Hair: RED Hair Length: Hair Style: Resident: R M.O.:
EMPLOYER:

HATE/BIAS MOTIVATED: UNKNOWN CLOTHING: DIRTY/SLOPPY

OFFENDER USED: NOT APPLICABLE

RRREEERKEE | OFF E N DE R RREERERERE

ID # 2009090381 GIBSON, DAVID SHAWN Home/Business
HE «LAUREL MS 00000000 (601)
TYPE OF INDIVIDUAL | (601)
(601)
DOB:IRMBMM. AGE: 52 +/-00 RACE:w SEX:M Height: 5-5 Weight:115 SSN:| iE
OLN: State: MS Class: Commercial: Birth City/State:
Appearance: Build: Complexion: Ethnicity:N Eyes:BRO
Hair: BRO Hair Length: Hair Style: Resident: R M.O.:
EMPLOYER:
HATE/BIAS MOTIVATED: UNKNOWN CLOTHING:

OFFENDER USED: NOT APPLICABLE

HEKKRAREE SE Vi CTl MS} RERKEKKEKE

ID # 2005040005 STATE OF MISSISSIPPI, Home/Business

0 , LAUREL MS 00000000
TYPE OF INDIVIDUAL §

DOB: ff AGE: 0 +/-00 - RACE:U SEX:U Height: 0-0 Weight 0 SSN: XXX-XX-XXXX
OLN: State: Class: Commercial: Birth City/State:
Appearance: Build: Complexion: Ethnicity:U Eyes:
Hair: Hair Length: Hair Style: Resident: R M.O.:
EMPLOYER:
INJURY TYPE(S): |? None |: Broxen Bones ; | Intemal [| Lacerations _, Minor |_| Major -_j Teeth Unconscious

“i ASSIGNED DETECTIVE *****
MYERS, CHARLES JASON
“08 ASSISTING DETECTIVE(S) *****
GABLE, JASON SCOTT

CLT-(WILLIAMS)-000091
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JONES COUNTY SHERIFFS DEPT.

PRINT DATE: 02/01/2018 NUMBER: 2016033854 Page 4
Agency: JCSO Author: MYERS, CHARLES JASON
Incident No: 2016033854 Title: INVESTIGATIVE REPORT Report Type: |

Date Entered: 12/12/2016

Investigative Report
SGT Charles J. Myers (SO 29)
December 12, 2016

On December 12, 2016 | was contacted by SGT Scott Gable in reference to this case. He
advised that Mr. Price Cook of the Gold Mine Pawn Shop called him, advising that David Williams
was in his shop attempting to seil Stihl chain saws. These saws were from a burglary in Jasper
County. | already had an active warrani for Williams, and immediately went there to attempt to
make the arrest. We were unable ic catch him, but he did leave behind his son (Taylor Drew
Williams) and another white male (Cody Andrew Wade). We conducted an extensive search of the
surrounding area, assisted by LPD and MHP units—all with negaiive contact. We went back to the
pawn shop after the search, and arrested the two others (Taylor and Cody) when we found that the
truck they were driving in (a 1999 Chevrolet Silverado, AL tag# 5AR9567) was stolen, Plans were
made to charge them, and David, with Receiving Stolen Property.

On December 13, 2016 we received a tip that David was at Josh Maxey’s home in Laurel. We
attempted to serve the arrest warrant, but found that he was not there. Throughout the day, we aiso
checked other possible leads—350 Rose Lane (Danny Odom’s residence)—all with negative
contact.

On the same date, CPT Robert Morris (Jasper 3) and | also conducted an interview of Cody
Wade. Init, he denied knowing the saws were stolen and having anything to do with the Larceny in
Jasper County. He admitted to driving a 4-wheeler that matched the one from the Jasper County
theft from Chris Williamson's house to the camper that Stephanie Williams (AKA “Red”) and David
were staying in. Wade waived his right to an initial appearance, and his bond was set via telephone
by Judge Lyons at $5,000.

After Wade’s interview, we also conducted an interview of Stephanie Williams (AKA “Red”). She
admittec to letting David stay with her at the camper in Jasper County, even after she was warned
not to do so by SGT Jody White (SO 30) weeks ago when he and | searched the area for David on
another case (see JCSO case# 2016-03-1681). She told us that she knew David was wanted, and
that she had agreed to let us know if he came to her for assistance. Due to her failing to advise the
authorities of his whereabouts, she was taken to Jasper County and charged with Accessory afier
the Fact (Grand Larceny) by Morris. Her bond was set at $2,000 and she was bonded out by
Robert Grayson later that day.

On Decernber 14, 2016 plans were made to take David into custody. !t was determined that
Josh Maxey would agree to pay off David for “infractions” in the Aryan Brotherhood. David was to
meei Maxey at the Sheil service station across from Parker Drive for the money to be delivered.

We had intelligence that he was atmed with a 7mm magnum rifle and a large handgun. We
arranged muitiple units (including Troopers from MHP) to cover all avenues of approach and escape
in an effort to apprehend David. He told Maxey “I’m going to be in a truck nobody knows”, so we did
not have a proper vehicle description. As we were trying to get se! up in accordance with our plan,
Maxey called and advised that David had just left his trailer with the money, driving a Ford Ranger
bearing e Jones County tag# JQ5 174. We were also advised by SGT Jeff Monk that he had just
seen that vahicle (occupied two times) on Bush Dairy Road, driving west. SGT White and | were on

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JONES COUNTY SHERIFFS DEPT.

PRINT DATE: 02/01/2018 NUMBER: 2016033854 Page 5

MS HWY 15 north, and decided to go to Springhill Road in an effort to head off the truck. While en
route to our preplanned position, we saw the truck driving north on @S HWY 15. We activated our
blue lights and siren in the unmarked unit and the truck began to accelerate. The truck then turned
east on Morris Brown road and immediately turned north into the first driveway. | followed, with my
emergency lights and siren still activated. The truck turned into the yard, driving over multiple
flowerbeds and a few small trees. The driver (later identified as David) lost control of the truck and
spun out besides an abandoned building. He then flung the door open and began to flee on foot.
White and | exited our unit, and immediately gave chase. The passenger of the truck (later
identified as Stephanie Williams, AKA “Red”) remained in the vehicle. We chased David through
the woods into a small thicket, gaining on him as we ran. He became entangled in an oid fence,
and was attempting to free himself when SGT White deployed his taser. David then fell to the
ground on his face, without his hands to break the fall. We crossed the fence, and attempted to
take him into custody. While he fell, the taser lines broke and David was able to regain his ability to
move. While we were attempting to take him into custody, he kept his hands underneath
him—making us fear he was trying to grab a weapon. After a struggle, we were able to get his
hands free and affect the arrest. He was then taken back up to the truck, now abandoned by the
passenger. Other units arrived on scene, and a search of the truck yielded methamphetamine and
multiple phones, as well as Stephanie’s purse. The truck was identified as belonging to a Bailey
Hancock from here in Jones County. A short time later, Stephanie was observed attempting to
cross a pipeline clearing and was taken into custody without incident. Both were transported to the
JCADF, where David was charged with five counts of Receiving Stolen Property, Felony Fleeing,
and Resisting Arrest. Stephanie was charged with Accessory After the Fact. Due to David’s evident
inebriation from recent drug use, plans were made to question him and Stephanie on Friday,
December 16, 2016 with their bond hearings to follow.

The following day (December 16, 2016) Robert Morris and | conducted an interview of Stephanie
Williams first. She finally told us the entire chain of events leading to their capture—how tiey had
stayed at Paul Buker’s house on MS 15 North, Bailee Hancock's, and “Sonny” Gibson's assistance,
and their plans to pull the camper to the Mississippi Gulf Coast area. After finishing with Stephanie,
we questioned David Drew. He denied any wrongdoing in the case initially, but then began to tell us
that the missing items from Jasper County were now in Louisiana. He told us that he and his
brother (Derrick Williams) had a contact there to trade the 4-wheelers and other ATV's for drugs and
cash. He then began to request that we do an outlandish operation where he would arrange to
meet them while wearing a tracking device. Later that day, the pair went before Judge Lyons for an
initial appearance. David Drew's bond was set at $70,000 total--$10,000 per count (five counts of
Receiving Stolen Property, a count of Felony Fleeing, and a count of Resisting Arrest). Stephanie's
bond was set at $10,000 for a count of Accessory after the Fact. Now, with the other names given
to us by Stephanie, we set out to make contact with Bailee Hancock, Paul Buker, and “Sonny”
Gibson.

We found Stephanie’s carmper parked behind Buker’s residence. He was known to deal in
stolen property, and had a locked storage container that would fit a 4-wheeler or other ATV
perfectly. | obtained a search warrant for the residence and curtilage, which yielded a small amount
of methamphetamine and Stephanie's camper; which was found to be full of siolen tools. A copy of
the search warrant was left on the bed of the residence. It was noted that the bed closely
resembled that of one where Buker and David Drew had photographed a stolen rifle they were

CLT-(WILLIAMS)-000093
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JONES COUNTY SHERIFFS DEPT.

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trying to sell. Later on December 19, 2016 Buker was taken into custody. He invoked Miranda
when questioned; and his bond was set at $10,000 as well for Accessory after the Fact.

Bailee Hancock was apprehended the following day (December 20, 2016). He waived Miranda
in his interview; and detailed how David Drew and Stephanie were being helped by himself and Paut
Buker. He also told us about “Sonny” who was also a mernber of the Aryan Srotherhood. He told
us that the rifle in the picture was traded to Jeremy Young (AKA “Tooter’). Young was later
questioned about the weapon, and anotiver case was worked on the stolen rifle and bow (see JCSO
case# 2016-03-5494). Hancock also gave us information on the finai suspect—“Sonny” Gibson.

“Sonny” Gibson (later identified as David Shawn Gibson Sr) was taken into custody on January
11, 2016. He also waived Miranda, and admitted to helping David Drew. He was also questioned
on an ongoing child pornography case, which he denied any involvement in. His tattoos from the
Aryan Brotherhood were photographed. His bond was also set at $10,000 for an Accessory after
the Fact charge as well.

After Taylor Drew Williams cooperated with Jasper County authorities attempting to recover
other stolen property, | decided not to pursue charges on him in hopes that the experience will give
him new perspective and help him make better choices being so young.

The case will now be marked, “Cleared by Arrest” and turned over to the District Attorney's Office
for presentation to the Grand Jury.

SGT Charles J. Myers (SO 29)
January 27, 2017

CLT-(WILLIAMS)-000094
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JONES COUNTY SHERIFFS DEPT.

PRINT DATE: 02/01/2018 NUMBER: 2016033854 Page 7
Agency: JCSO Author: GABLE, JASON SCOTT
Incident No: 2016033854 Title: INVESTIGATOR GABLE REPORT Report Type: $

Date Entered: 12/21/2016

On December 12, 2016 |, Sergeant Scott gable received a text massage from Price Cook, the
owner of Gold Mine Pawn. Mr. Cook sent me a photo text of David Williams wiih & serial number to
& Sthil chain saw (299894973). | called him back and told him that was David Williams and for ivr.
Cook not to buy the chain saw that it may be stolen. | told hirn to try and keep him in the store until |
could get oificers headed that way. | called Central Dispatch and ran the number to the saw and it
‘came back stolen out of Jasper County. | went to the pawn shop along with other deputies with the
Jones County Sheriffs Department. Mr. Williams had already rar: out of the store and was last seen
running south on 16th ave. There were two boys standing on the sidewalk who was later identified
as Taylor Drew Williams and Cody Andrew Wade. They told officers they were with David at the
time he was trying to sell the stolen chainsaw. They were taken: into custody and transported to the
jail.

Sgt. Scott Gable
Jones County Sheriffs Department

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JONES COUNTY SHERIFFS DEPT.

EVIDENCE REPORT
Date: 12/12/201@ Called: 15:00 Arrived: 15:00 Completed 16:90 Case No: 2016033854
Location: 330 N 16TH AVE LAUREL Scene:
Victim: SVATE CF MISSISSIPP), Weather.
Offender WAGE, CODY

GLT-(WALLIAMS)-000096
